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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                                )              Lead Docket No.:
                                              )              3:17-cv-02026 (JBA)
            Plaintiff/Counterclaim Defendant, )              U.S.D.C./New Haven
                                              )
      v.                                      )              Judge Janet Bond Arterton
                                              )
HENRY KURZ                                    )
                                              )
            Defendant/Counterclaimant.        )
__________________________________________)                  May 22, 2019


    MOTION TO ADJOURN DEPOSITIONS, SETTLEMENT CONFERENCE AND
                 HEARING ON DISPOSITIVE MOTIONS

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Rule 7(b) of

Civil Procedure, defendant/counterclaimant/third-party plaintiff Henry Kurz (“Kurz”) and

plaintiff Henry Kurz Consulting GmbH (“HKC”) hereby move to adjourn for 30 days or such

other dates as may be set by the Court: (1) the deposition of Henry Kurz currently noticed for

June 3, 2019; (2) the settlement conference before Magistrate Judge Spector currently scheduled

for June 4, 2019; (3) the deposition of HKC currently noticed for June 5, 2019; and the hearing

on dispositive motions currently scheduled for June 10, 2019. Grounds for adjournment for good

cause exist, as follows:

       On May 9, 2019, Jed Ferdinand, Jessica S. Rutherford, and the firm of Ferdinand IP, LLC

(“Defendant’s Counsel”) filed a motion for withdrawal of appearance on behalf of Kurz and

HKC, pursuant to Rule 1.16 of the Connecticut Rules of Professional Conduct and Local Rule

7(e). In support of their motion, Defendant’s Counsel cited the clients’ failure to pay some or all

of the legal fees for services rendered October 2018 through February 2019 and April 2019

despite warnings that Defendant’s Counsel will withdraw unless the obligation is fulfilled;
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continued representation will result in an unreasonable financial burden on the lawyer; there has

been an irreparable breakdown in the attorney-client relationship; and the clients have de facto

discharged counsel.

       Kurz and HKC opposed the motion on May 21, 2019 but have since advised Defendant’s

Counsel that they have identified new counsel willing to represent them in this action, on the

condition that the Court grants at least a 30-day extension of time.

       Further good cause for an adjournment exists in that plaintiff/counter-claim defendant

ConfigAir LLC (“ConfigAir”) has not produced documents responsive to HKC’s First Set of

Requests for Documents. Document production was due on May 3, 2019. The requested

documents are necessary to come to a negotiated settlement.

       On May 20, 2019 at 2:32 pm, I inquired of all non-moving parties whether there was

objection to this motion. Counsel for ConfigAir indicated as follows: “Given the lengthy delays

in this matter, we are unable to accommodate your request. Upon proper motion to the Court, we

will provide our written response.” Counsel for McLaren has not responded to our request, and I

cannot ascertain McLaren’s position. This is the first motion for extension of these deadlines.

       For the foregoing reasons, Defendant’s Counsel respectfully requests that the Court

adjourn the depositions, the settlement conference, and the hearing on dispositive motions for 30

days or such other date as may be set by the Court and for such other relief as may be just and

appropriate.


Dated: May 22, 2019

                                                      Respectfully submitted,


                                                      By _/s/ Jessica S. Rutherford______
                                                      Jessica S. Rutherford
                                                      ct27273
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                                 Attorneys for Defendant, Counterclaimant
                                 and Third-Party Plaintiff, Henry Kurz, and
                                 Plaintiff Henry Kurz Consulting GmbH
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this May 22, 2019 a true and correct copy of the foregoing

MOTION TO ADJOURN was filed electronically. Notice of this filing will be sent by e-mail to

all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.



                                                     _/s/Jessica S. Rutherford____
                                                     Jessica S. Rutherford
